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AO 468 (Rev. 04/15) Waiver of a Preliminary Hearing



                                       UNITED STATES DISTRICT COURT
                                                               for the

                                                      District of Massachusetts


                   United States of America )
                                                                  )
                          JackTeixeira ) Case No. 22-mj-04293-DHH
                                                                  )
                              Defendant                          )


                                              WAWER OF A PRELIMINARY HEARING

          I understand that I have been charged with an offense in a criminal complaint filed in this court, or charged with
violating the terms of probation or supervised release in a petition filed in this court. A magistrate judge has informed
me of my right to a preliminary hearing under Fed. R. Crim. P. 5.1, or to a preliminary hearing under Fed. R. -Crim. P.
32.1.


          I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. 5.1 or Fed. R. Crim. P. 32.1.




Date:       i/rr^l? •s^z^7
                                                                                          Defendant's signature



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                                                                                   Brendan Kelley - MA 569054
                                                                         Printed name and bar number of defendant's attorney

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